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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

TEXAS EQUITY DEVELOPMENT                      §
ENTERPRISES, LLC                              §
    Plaintiff,                                §
                                              §
                                              §
                                              §
v.                                            §               5:22-cv-463
                                              §   CAUSE NO.: ______________
FAY SERVICING LLC,                            §
RESIDENTIAL ASSET SUB LLC                     §
     Defendant(s).                            §
                                              §
                                              §
                                              §
                                              §
                                              §
                                              §

                                     NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. § 1332(a), Defendant(s) FAY SERVICING LLC (“FAY”) and

RESIDENTIAL ASSET SUB LLC (“RAS”) removes this action from the 2ND Judicial District

Court of GONZALES County, Texas to the United States District Court for the Western District

of Texas, San Antonio Division, and as grounds for its removal respectfully shows the Court as

follows:

                             I.     STATE COURT ACTION

       1.     On 5/02/2022 Plaintiff TEXAS EQUITY DEVELOPMENT ENTERPRISES,

LLC (“TEXAS EQUITY” or “Plaintiff”) filed its Original Petition and Application for

Temporary Restraining Order (“Original Petition”) in the 2ND Judicial District Court of

GONZALES County, Texas under Cause No. 28,241.
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         2.      In the Original Petition, Plaintiff asserts claims against Defendant(s) FAY

SERVICING LLC (“FAY”) and RESIDENTIAL ASSET SUB LLC (“RAS”) stemming from

foreclosure proceedings of a mortgage encumbering the real property located at 1608 SAINT

VINCENT STREET, GONZALES, TX 78629 (the “Property”). Plaintiff seek a declaratory

judgment that any foreclosure sale of the Property be deemed void, that title to the property still

rests with Plaintiff and that Plaintiff is not in default under the terms of the Loan Agreement.

Plaintiff also seeks Injunctive Relief preventing foreclosure and eviction from the Property and

for attorneys’ fees.


                              II.    TIMELINESS OF REMOVAL

         3.      This suit was filed on 5/02/2022 and Defendant(s) FAY and RAS received a copy

of the Petition and Temporary Restraining Order on 5/02/2022. This Notice of Removal is filed

within 30 days of the date of the service of the Original Petition and is therefore timely.

                           III.     PROCEDURAL REQUIREMENTS

         4.      This action is properly removed to this Court, as the lawsuit is pending within the

district and division.1

         5.      The United States District Court for the Western District of Texas, San Antonio

Division, is the federal judicial district and division embracing the 2ND Judicial District Court of

GONZALES County, Texas, where this action was originally filed.2

         6.      The United States District Court for the Western District of Texas, San Antonio

Division has original jurisdiction over this action based on diversity jurisdiction because

Defendant(s) FAY and RAS are now, and was at the time this action commenced, diverse in



1
    See 28 U.S.C. § 1441; 28 U.S.C. § 124(b)(2).
2
    See 28 U.S.C. § 124(d).
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citizenship from Plaintiff, and the amount in controversy exceeds the minimum jurisdictional

amount.3

         7.     Pursuant to 28 U.S.C. § 1446(a) this Notice of Removal is accompanied by copies

of the following materials:



      Exhibit                                         Document

         A          Civil Cover Sheet and Western District of Texas Supplemental Civil Cover
                    Sheet for Case Removed from State Court;

         B          List of All Counsel of Record;

         C          Index of Documents Filed in State Court;

         D          GONZALES County Central Appraisal District Residential Account Detail
                    Report for the Subject Property.



         8.     Simultaneously with the filing of this Notice of Removal, Defendant(s) FAY and

RAS are filing a copy of the Notice of Removal in the 2nd Judicial District Court, GONZALES

County, Texas pursuant to 28 U.S.C. § 1446(d)

         9.     Defendant(s) FAY and RAS remove the State Court Action to this Court on the

basis of diversity jurisdiction.

                              IV.    DIVERSITY JURISDICTION

         10.    This Court has original jurisdiction over this case under 28 U.S.C. § 1332 because

this is a civil action between citizens of different States where the matter in controversy exceeds

$75,000.00.

         A.     COMPLETE DIVERSITY EXISTS


3
    28 U.S.C. §§ 1331 and 1332(a).
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       11.     The State Court Action may be removed to this Court because it arises under 28

U.S.C. §1332 (Diversity of Citizenship).

       12.     TEXAS EQUITY DEVELOPMENT ENTERPRISES LLC is a Texas Limited

Liability Corporation. The citizenship of an LLC depends on the citizenship of its members rather

than its state of incorporation and principal place of business. 4 According to the Texas Secretary of

State the sole member of TEXAS EQUITY DEVELOPMENT ENTERPRISES LLC is EDWARD F.

MELCHER JR. is EDWARD F. MELCHER JR. is a resident of, and domiciled in (that is – has his

fixed residence) in the State of Texas.          Therefore, TEXAS EQUITY DEVELOPMENT

ENTERPRISES LLC is a citizen of Texas.

       13.     Defendant Fay Servicing, LLC is a single member limited liability company. A

limited liability company’s citizenship is determined by its members.5 Defendant Fay Servicing

has only one member, Fay Management, LLC, which is a Delaware limited liability company.

Thus, Fay is a citizen of Delaware for diversity purposes.

       14.     Defendant RESIDENTIAL ASSET SUB, LLC is a single member limited

liability company. A limited liability company’s citizenship is determined by its members.6

Defendant RESIDENTIAL ASSET SUB, LLC has only one member, RESIDENTIAL ASSET

MANAGEMENT COMPANY LLC, which is a Delaware limited liability company. Thus,

RESIDENTIAL ASSET SUB, LLC is a citizen of Delaware for diversity purposes.

       15.     Because Plaintiff is a citizen of Texas and Defendant FAY and RAS are not a

citizen of Texas or Florida, complete diversity exists between the parties.7

       B.      THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.00


4
    Tewari De-Ox Systems, Inc. v. Mountain States/Rosen, 757 F.3d 481, 483 (5th Cir. 2014).
5
    Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1079-80 (5th Cir. 2008).
6
    Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1079-80 (5th Cir. 2008).
7
    28 U.S.C. § 1332(c)(1).
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        16.     Where a Defendant can show, by a preponderance of the evidence, that the

amount in controversy more likely than not exceeds the jurisdictional minimum, removal is

proper.8 A defendant can meet this burden if it is apparent from the face of the petition that the

claims are likely to exceed $75,000, or, alternatively, if the defendant introduces other evidence

to show that the amount in controversy more likely than not exceeds $75,000, exclusive of

interest and costs.9

        17.     In actions seeking declaratory or injunctive relief, it is well established that the

amount in controversy is measured by the value of the object of the litigation.10 Specifically, the

Farkas Court held that: “[i]n actions enjoining a lender from transferring property and preserving

an individual's ownership interest, it is the property itself that is the object of the litigation; the

value of that property represents the amount in controversy.”11 Thus, when a right to property is

called into question in its entirety, the value of the property controls the amount in controversy.12

        18.     Further, the Court may also consider actual damages and attorney fees in

determining the amount in controversy.13



8
     White v. FCI U.S.A., Inc., 319 F.3d 672, 675–76 (5th Cir. 2003).
9
     St. Paul Reins. Co. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998); Berry v. Chase Home
     Fin., LLC, No. C-09-116, 2009 WL 2868224, at 2 (S.D. Tex. Aug. 27, 2009).
10
     Farkas v. GMAC Mortgage, LLC, 737 F.3d 338, 341(5th Cir. 2013) (quoting Hunt v. Wash.
     State Apple Adver. Comm'n, 432 U.S. 333, 347 (1977)); Martinez v. BAC Home Loans
     Servicing, 777 F. Supp. 2d. 1039, 1044 (W.D. Tex. 2010).
11
     Id. (citing Garfinkle v. Wells Fargo Bank, 483 F.2d 1074, 1076 (9th Cir. 1973)).
12
     Nationstar Mortgage LLC v. Knox, No. 08- 60887, 351 Fed. App'x 844, 848 (5th Cir. 2009)
     (quoting Waller v. Prof'l Ins. Corp., 296 F.2d 545, 547-48 (5th Cir. 1961)); see also
     Alsobrook v. GMAC Mortg., L.L.C., et al., --- Fed. Appx. ----, No. 12-10623, 2013 WL
     3929935, at *2 n.2 (5th Cir. July 31, 2013); Copeland v. U.S. Bank Nat'l Ass'n, No. 11-
     51206, 485 Fed. App'x 8, 9 (5th Cir. 2012) (relying on the value of the property to satisfy the
     amount in controversy in exercising diversity jurisdiction over appeal of foreclosure-related
     claims).
13
     White, 319 F.3d at 675-76; St. Paul Reins. Co., 134 F.3d at 1253 n.7; Grant v. Chevron
     Phillips Chemical Co. L.P., 309 F.3d 864, 874 (5th Cir. 2002) ("[W]e hold that when there is
     state statutory authority for the court to award attorney's fees . . . such fees may be included
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         19.    Based on a review of the Petition and the evidence presented, the amount in

controversy exceeds $75,000, exclusive of interest and costs. This is because Plaintiff seeks

relief from the conducting of an allegedly wrongful foreclosure sale of the Property14, and as a

result, the entire value of the Property is squarely at issue. 15 According to the GONZALES

Central Appraisal District, the 2021 market value of the Property is $234,310.00 and the

appraised value of the Property is $234,310.00.16

         20.    Additionally, Plaintiff seeks actual damages and attorney fees.17 Although

Defendant(s) FAY and RAS will vehemently deny that Plaintiff is entitled to any declaratory

relief, actual damages, or attorney fees, when these amounts, along with the value of the

Property, are all included in the amount in controversy calculus, it is facially apparent that the

value of the relief sought by Plaintiff in this matter exceeds $75,000, exclusive of interest and

costs.

         21.    Because there is complete diversity among the parties and because the amount in

controversy requirement is satisfied, this Court has jurisdiction pursuant to 28 U.S.C. §§ 1332,

1441, and 1446. Therefore, removal is proper.

                                     V.     CONCLUSION




     in the amount in controversy."); Ray Mart, Inc. v. Stock Building Supply of Texas, L.P., 435
     F. Supp. 2d 578, 588 (E.D. Tex. 2006) (including potential award of attorney fees in
     calculating the amount in controversy).
14
     Pl’s. Orig. Pet. - Prayer.
15
     Bardwell v. BAC Home Loans Servicing, LP, No. 3:11-CV-1002-B, 2011 WL 4346328, at *2
     (N.D. Tex. Sept. 16, 2011) (finding value of the property at issue was an appropriate measure
     of the amount in controversy where the plaintiff sought to preclude the defendants from
     exercising their rights in the property); Nationstar Mortgage LLC, 351 Fed. App’x at 848;
     Martinez, 777 F. Supp. 2d at 1047; Waller, 296 F.2d at 547-48).
16
     Exhibit D.
17
     Pl’s. Orig. Pet. - Prayer.
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       WHEREFORE, Defendant(s) FAY and RAS remove this action from the 2nd Judicial

District Court of GONZALES County, Texas to the United States District Court for the Western

District of Texas, San Antonio Division, so that this Court may assume jurisdiction over the

cause as provided by law.



                                                 Respectfully Submitted,


                                                 JACK O’BOYLE & ASSOCIATES


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                                                 ASSET SUB LLC
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                               CERTIFICATE OF SERVICE

       This is to certify that a true, correct and complete copy of the foregoing document has

been served in accordance with the Federal Rules of Civil Procedure on May 10, 2022 to:

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                                                   /s/ Travis H. Gray
                                                   Travis H. Gray
